    Case 3:24-cv-00274-MAD-ML                  Document 63-4       Filed 05/09/25        Page 1 of 1




                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF NEW YORK


                                      CERTIFICATE OF SERVICE


                                                                             Case No: 3:24-cv-274
                                                                             Date filed: 05/09/2025


Plaintiﬀ:                  Jane Doe, John Doe
Defendants:                Jonathan Rees aka Greg Ellis aka Johnathan Rees
                           aka Jonny Rees aka Jacob Lorenzo



I, Jane Doe, hereby certify that I am the plaintiff herein and served a copy of the following documents:

Request For Entry of Default, Proposed Order, Jane Doe and John Doe Affidavits in support of
Entry of Default, Certificate of Service on Defendant:

Jonathan Rees aka Greg Ellis aka Jonny Rees et al. at 2251 W. ROSCOE ST. CHICAGO, IL
60618 and to PMB 101, 1770, S.Randall Road, Suite A, Geneva IL. 60134-4646


in a 1st Class postpaid properly addressed envelope under the exclusive care and custody of the United
States Post Office by mailing and depositing a true and correct copy of said document at:

USPS 200 Washington Avenue, Endicott, NY 13760

on the following date: 05/09/2025

I certify that the foregoing is true and correct.

Dated: 05/09/2025

                                                Signed: __________________
                                                Name: Jane Doe
